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                                                                                                    United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                           ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                         February 13, 2023
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ALEXANDER E. JONES,                                              ) Case No. 22-33553 (CML)
                                                                     )
                              Debtor.                                )
                                                                     )

                   ORDER AUTHORIZING THE OFFICIAL COMMITTEE
                  OF UNSECURED CREDITORS OF ALEXANDER E. JONES
                 TO RETAIN AND EMPLOY AKIN GUMP STRAUSS HAUER &
               FELD LLP AS COUNSEL, EFFECTIVE AS OF DECEMBER 19, 2022

             Upon the application (the “Application”)1 of the Official Committee of Unsecured

Creditors (the “Committee”) appointed in the chapter 11 case of Alexander E. Jones (the “Debtor,”

and such case, the “Chapter 11 Case”) for entry of an order, pursuant to sections 328(a) and 1103(a)

of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014 and 2016 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2014-1 and 2016-1 of the

Local Rules of Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the

Southern District of Texas (the “Local Rules”) authorizing the Committee to retain and employ

Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) as its counsel in connection with the

Chapter 11 Case, effective as of December 19, 2022; and upon the declaration of David M. Zensky,

a partner of Akin Gump (the “Zensky Declaration”), filed contemporaneously with the

Application; the declaration of Leonard Pozner and Robert Parker, each in his capacity as co-chair

of the Committee (the “Pozner and Parker Declaration”), filed contemporaneously with the

Application; and the supplemental declaration of David M. Zensky, dated February 6, 2023 [ECF




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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
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No. 135] (the “Supplemental Zensky Declaration” and together with the Zensky Declaration and

the Ponzer and Parker Declaration, the “Declarations”); and it appearing that the attorneys of Akin

Gump who will perform services on behalf of the Committee in the Chapter 11 Case are duly

qualified to practice before the Court; and the Court finding, based on the representations made in

the Application and the Declarations, that Akin Gump does not represent any interest adverse to

the Committee or the Debtor’s estate with respect to the matters upon which it is to be engaged,

that it is a “disinterested person,” as that term is defined in Bankruptcy Code section 101(14), as

modified by Bankruptcy Code section 1107(b), that its employment is necessary and in the best

interests of the Committee and the Debtor’s estate; and finding that adequate notice of the

Application having been given; and it appearing that no other notice need be given; and after due

deliberation and sufficient cause appearing therefor, it is hereby ORDERED THAT:

       1.      The relief requested in the Application is granted as set forth herein.

       2.      In accordance with Bankruptcy Code sections 328 and 1103(a), Bankruptcy Rules

2014 and 2016 and Local Rules 2014-1 and 2016-1, the Committee is hereby authorized and

empowered to retain and employ Akin Gump as its counsel to represent it in the Chapter 11 Case

and related matters and proceedings on the terms set forth in the Application and the Declarations,

effective as of December 19, 2022.

       3.      In light of the unique facts and circumstances of the Chapter 11 Case and Akin

Gump’s retention by the Committee on a pro bono basis, Akin Gump shall not be required to apply

for compensation on a monthly or interim basis in accordance with the procedures set forth in

Bankruptcy Code sections 330 and 331, the applicable Bankruptcy Rules, the applicable Local

Rules and any other applicable order of the Court. In addition, Akin Gump shall be excused from

complying with the U.S. Trustee Guidelines in connection with interim and final fee applications



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except as otherwise provided herein. Notwithstanding the foregoing, Akin Gump will provide the

Committee, the Debtor and the U.S. Trustee with monthly summary invoices of the fees and

expenses incurred by Akin Gump in connection with its representation of the Committee.

       4.      In the event that the Debtor obtains confirmation of a chapter 11 plan or other

resolution of the Chapter 11 Case that is not supported by the Committee, Akin Gump shall be

entitled to seek approval by this Court and payment by the Debtor, in accordance with all

applicable rules, of all fees and related costs and expenses incurred by the Committee on account

of services rendered by Akin Gump in connection with the Chapter 11 Case prior to the conclusion

of the Chapter 11 Case. Such fees shall be sought in a final fee application complying with all

U.S. Trustee Guidelines. For the avoidance of doubt, the rights of the Debtor and all other parties

in interest to object to such fees on any basis permitted by the Bankruptcy Code and applicable

rules, including those typically raised as objection to employment applications, are expressly

reserved.

       5.      Akin Gump shall provide ten (10) business days’ notice to the Debtor and the U.S.

Trustee before any increases in rates are implemented, other than with respect to those rates set

forth in the Application and the Zensky Declaration, and shall file such notice with the Court.

Except with respect to those rates set forth in the Application and the Zensky Declaration, the U.S.

Trustee retains all rights to object to any rate increase on all grounds, including the reasonableness

standard set forth in Bankruptcy Code section 330, and the Court retains the right to review any

rate increase pursuant to Bankruptcy Code section 330.

       6.      Akin Gump shall use its reasonable efforts to avoid any duplication of services

provided by any of the Committee’s other retained professionals in the Chapter 11 Case.




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       7.      Akin Gump will review its files periodically during the pendency of the Chapter 11

Case to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Akin Gump will use reasonable efforts to

identify such further developments and will promptly file a supplemental declaration, as required

by Bankruptcy Rule 2014(a).

       8.      The Committee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this order in accordance with the Application.

       9.      To the extent the Application is, or the Declarations are, inconsistent with this

Order, the terms of this Order shall govern.

       10.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       11.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.



Dated: ___________
          August 02,
          February 13, 2019
                       2023
                                               ______________________________________
                                               THE HONORABLE CHRISTOPHER M. LOPEZ
                                               UNITED STATES BANKRUPTCY JUDGE




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